                                                                      OTC#: 1
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 1 of 13 PageID
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 2 of 13 PageID #: 2
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 3 of 13 PageID #: 3
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 4 of 13 PageID #: 4
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 5 of 13 PageID #: 5
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 6 of 13 PageID #: 6
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 7 of 13 PageID #: 7
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 8 of 13 PageID #: 8
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 9 of 13 PageID #: 9
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 10 of 13 PageID #: 10
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 11 of 13 PageID #: 11
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 12 of 13 PageID #: 12
Case 5:21-cv-03232-DEW-MLH Document 1 Filed 09/03/21 Page 13 of 13 PageID #: 13
